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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              AT BOWLING GREEN


 UNITED STATES OF AMERICA                                                             PLAINTIFF


 v.                                        CRIMINAL ACTION NO. 1:21-CR-00013-GNS-HBB
                                                                     Electronically filed

 MIRSAD RAMIC                                                                      DEFENDANT
 a/k/a MIRSAD HARIZ ADEM RAMIC
 a/k/a MALIK RAMIC
 a/k/a MALIK AL MUTHANNA
 a/k/a MALIK WHITE
 a/k/a AHMET SIHNY
 a/k/a ABU HAZIM AL BOSNAWI

                       UNITED STATES PRETRIAL MEMORANDUM

        The United States submits this pretrial memorandum for the trial currently scheduled in

 Bowling Green, Kentucky on June 4, 2024. The United States anticipates the trial may last up to

 two weeks. The defendant Mirsad Ramic is charged in Count 1 with providing material support

 and resources to a foreign terrorist organization, the Islamic State of Iraq and al-Sham (ISIS), in

 violation of Title 18, United States Code, Section 2339B(a)(1). DN 7. Count 2 charged Ramic

 with conspiracy to provide material support to ISIS in violation of Title 18, United States Code,

 Section 2339B(a)(1). Id. Count 3 charged Ramic with knowingly receiving military-type training

 from and on behalf of the ISIS, in violation of Title 18, United States Code, Section 2339D(a). Id.


         I.      STATUTES INVOLVED AND ELEMENTS OF OFFNESES.

 Elements of Count 1: 18 USC § 2339B (Providing Material Support or Resources to
 Designated Foreign Terrorist Organizations)

      1. The defendant knowingly provided material support or resources to a foreign terrorist
         organization, namely ISIS;
      2. The defendant knew that the organization was a designated terrorist organization, or that
         the organization had engaged in or engages in terrorist activity, or had engaged in or
         engages in “terrorism”;
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    3. One of the jurisdictional requirements is met. Here, the United States may rely on one or
       more of the following specific bases;
          a. The defendant is a national of the United States or a permanent resident alien;
          b. After the conduct required for this offense occurred, the defendant was brought into
              the United States or found in the United States, even if the conduct required for this
              offense occurred outside the United States;
          c. The offense occurred in whole or in part within the United States;
          d. The offense occurred in or affected interstate or foreign commerce; or
          e. The defendant aided or abetted any person over whom jurisdiction exists under 18
              U.S.C. § 2339B(a) or conspired with any person over whom jurisdiction exists
              under 18 U.S.C. § 2339B(d) to commit an offense. 18 U.S.C. § 2339B(a).

 Authority: 18 U.S.C. § 2339B.


 Elements of Count Two: Conspiracy to Provide Material Support to a Designed Foreign
 Terrorist Organization (18 U.S.C. § 2339B)

        1. A conspiracy as charged in Count 2 actually existed – that is, that there was in fact an
           unlawful agreement between two or more people to provide material support or
           resources to a foreign terrorist organization – namely, ISIS
        2. The defendant knowingly and voluntarily joined the conspiracy – that is, that he
           knowingly and voluntarily joined with at least on other person in the agreement to
           provide material support or resources to ISIS;
        3. The defendant participated in the conspiracy with knowledge that ISIS
               a. Was a designated terrorist organization; or
               b. Had engaged in or engages in “terrorist activity”; or
               c. Had engaged in or engages in “terrorism”;
        4. One of the jurisdiction requirements listed above is met.

 Authority: 18 U.S.C. § 2339B.

 Under an aiding and abetting theory, anyone who finances or facilitates another in the receipt of
 such training would be criminally liable as a principal.

 Authority: 18 U.S.C. § 2

 Elements of Count 3: 18 U.S. Code § 2339D - Receiving military-type training from a
 foreign terrorist organization

        1.  The Defendant received military-type training from a foreign terrorist organization—
           that being ISIS;
        2. The defendant knew that the military-type training was provided by, or on behalf of
           ISIS;
        3. The defendant did so with knowledge that ISIS:
               a. Was a designated terrorist organization; or
               b. Had engaged in or engages in “terrorist activity”; or
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              c. Had engaged in or engages in “terrorism”;
        4. One of the jurisdiction requirements list above is met.



 Authority: 18 U.S.C. § 2339D.

        II.     STATEMENT OF FACTS

        Defendant has been charged by indictment with three federal terrorism offenses, which

 carry a combined statutory maximum sentence of 50 years’ imprisonment. The charged offenses

 arise from Ramic conspiring to provide, providing, and attempting to provide material support and

 resources to the Islamic State of Iraq and al-Sham (“ISIS”), as well as receiving military-type

 training from and for ISIS. ISIS and its predecessors have been designated a foreign terrorist

 organization by the United States since October 15, 2004. ISIS has carried out numerous deadly

 terrorist attacks around the world, including within the United States.

        In June 2014, defendant Mirsad Ramic, a/k/a Abu Hazim Al-Bosnawi, a/k/a Malik Al

 Muthanna, together with two co-conspirators, Abdulah Mohamed Alnwfal (“Alnwfal”), and

 Khalaf Fahad Alkhalaf (“Alkhalaf”) who both had attended Western Kentucky University in

 Bowling Green, Kentucky, departed the United States and traveled to Syria to join and fight for

 the terrorist organization known as the Islamic State of Iraq and al-Sham.


        A. CONSPIRACY AND TRAVEL TO SYRIA TO JOIN ISIS

        Airline travel records show that Ramic departed from Nashville, Tennessee, on June 3,

 2014 on a flight to Houston, Texas, and then to Istanbul, Turkey. Alnwfal and Alkhalaf flew

 together on a different flight on the same day, June 3, 2014, from Nashville to Dulles Airport and

 then to Istanbul, Turkey. All three met in Istanbul and purchased one-way tickets with cash on the

 same flight to Gaziantep, Turkey. Gaziantep is located near the border with Syria. It is also a




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 known travel location for those would be ISIS fighters to travel closer to Syria to cross the border

 to join ISIS. Upon arriving in Syria, Ramic, Alnwfal, Alkhalaf joined ISIS.

        Turkish Airlines provided certified copies of travel information for Mirsad Ramic,

 Alkhalaf and Alnwfal. The travel itinerary for Ramic listed Ramic’s date of birth as January 10,

 1990. It indicated that he purchased flight tickets from Travelong Inc. (also known as CheapOair)

 using a Visa credit card ending 7723. The travel records show that he purchased travel on June 3,

 2014 from Nashville to Houston and from Houston to Istanbul Turkey. On June 4, 2014, Ramic

 was scheduled to travel from Istanbul to Sarajevo but he did not board that flight. The price of the

 total amount of the ticket was $1407.45. Instead, travel records show that Mirsad Ramic traveled

 from Istanbul to Gaziantep, Turkey on June, 4, 2014 on flight number 2228. The one-way ticket

 was paid for with cash.

        Turkish Airlines also provided certified travel records from coconspirators, Abdullah

 Mohamed Alnwfal and Khalaf Fahad Alkhalaf. The records contained the correct date of birth for

 both co-conspirators and indicated that the tickets were purchased from Cheap Tickets. On June

 3, 2014, Alnwfal and Alkhalaf traveled from Nashville to Dulles Airport in Washington, D.C. On

 that same day they traveled from Dulles to Istanbul. Both had a final travel itinerary from Istanbul

 to Riyadh, Saudi Arabia on June 4, 2014. The price for each individual ticket was $1,384.60. The

 tickets were paid for by credit card ending 0913, which is the PNC account in the name of Alkhalaf.

 Travel records indicated that neither Alnwfal nor Alkahalaf traveled the final leg of the trip to

 Riyadh. Instead, just like Ramic’s travel records, travel records for Alnwfal and Alkhalaf show

 the cash purchase of flight tickets from Istanbul to Gaziantep, Turkey on June 4, 2014 on flight

 2228. Gaziantep, Turkey, is a city located near the norther border of Syria. It was a well know

 travel location for those aspiring to travel South to join ISIS. Alkhalaf’s PNC bank records show

 that he purchased plane tickets for himself and Alnwafal.


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        When Ramic and his co-conspirators arrived in Syria to join ISIS, ISIS generated an

 autobiographical information that was recorded in a “General Border Administration Mujahid

 Information Form.” This form was one way in which ISIS attempted to accurately record and track

 the attributes of the tens of thousands of foreign fighters flooding its ranks. These forms, one each

 for Ramic and the two Saudi Arabian co-conspirators Alnwfal and Alkhalaf, reflect that Ramic

 and his coconspirators entered into ISIS territory through the same port of entry, Tal Abyad, on

 the same day – June 11, 2014.

        Ramic, Alkhalaf, and Alnwfal entered ISIS territory and were processed on the same day,

 June 11, 2014, a few days after traveling on the same flight to Gaziantep, Turkey. The ISIS border

 crossing information is part of a collection known as Toula Ridge I. The information contains

 over 5,000 previously exploited ISIS forms generated by General Border Administration to

 document biographic details of foreign fighters who travelled to Syria to join ISIS. The forms

 include the following fields: true names, aliases (known as “kunyas”), mother’s name, blood type,

 dates of birth, nationality, marital status, address and place of residence, education level, Islamic

 Shari’a knowledge level, previous profession before arrival to Islamic State, countries visited and

 duration of stay, entry point to Islamic State, any references, date of entry to Islamic State, previous

 jihad experience and location, whether the individual would like to be a fighter or suicide fighter

 (“Inghimasi”) or a would-be martyr, whether the individual’s expertise is that of a fighter, in

 Islamic religious law (“shari’a”), security, or administration; current work place, items kept in a

 Safe Deposit Box controlled by ISIS administration, obedience level, address of correspondence

 outside ISIL territories, date and place of being killed, and any other comments.

        Ramic’s border crossing record from ISIS confirms he joined ISIS to become a fighter.

 The English translation of the General Border Crossing Administration records containing

 Mujahid Information form indicated that the full name was Ramish Mirsad [Bosnian variant:

 Ramic Mirsad] with a kunya of Abu Hazim al-Bosnawi [Bosnian]. The date of birth provided was
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 1990 and the form indicated he was single and had a place of residence in Bosnia. His occupation

 prior to arrival was listed as the driver of large trucks. The form indicated that Ramic had visited

 and spent time in Yemen. His point of entry was indicated as Tal Abyad, a border town with

 Turkey in Northern Syria. The form indicated Ramic’s date of entry was June 11, 2014.          The

 form indicated that upon the choices of fighter, suicide bomber, or inghamasi [suicide fighter] that

 fighter was indicated. Finally, the form indicated that Ramic surrendered his passport.

        The border crossing information for Alkhalaf shows he joined ISIS to become a fighter the

 same day as Ramic and Anwfal. He provided the name of Khalaf Bin-Fahd Bin-Khalaf with a

 kunya of Abu-Jahim al-Aslami with a date of birth of 1988. The address and place of residence

 was Al Khafji, Saudi Arabia. He indicated his education level was two years of college in

 petroleum and English language and another year in chemistry. He indicated he had spent time in

 the US and Canada. He indicated he entered in Tal Abyad on June 11, 2014. The form asked if

 he was a fighter, suicide bomber, or suicide fighter, and fighter was selected. He indicated that he

 turned over his passport to ISIS, and that his father was named Fahd with a provided contact

 number.

        The biographical information for Alkhalaf in the border crossing records was confirmed

 by comparing it to information in Alkhalaf’s certified records from Western Kentucky University

 (WKU). He attended WKU between fall 2011 to Spring 2014. Alkhalaf’s records indicated he

 was from Saudi Arabia, and that he studied chemistry and science. Alkhalaf’s Certificate of

 Eligibility for Nonimmigrant (F-1) Student Status – For Academic and Language Students confirm

 he was from Saudi Arabia with a DOB of 1988. His foreign address was listed as Al Khafji. His

 domestic address was listed as 1926 Creason St, Bowling Green, Kentucky.

        Alnwfal ISIS records show he joined ISIS the same day as Ramic and Alkhalaf. The

 records show the name of Abudalla Bin-Muhammad with a kunya of Abu-Hamzah al-Hashimi.

 His date of birth was listed as 1988. He indicated he was married with one child. His address and
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 place of residence was indicated as Saudi Arabia. He indicated his education was a Bachelor’s

 degree in Technology Engineering and factories management. He indicated he had one and half

 year in the USA, and four years in Canada. His point of entry to Syria and ISIS was Tal Abyad

 on June 11, 2014. He also signed up to be a fighter and turned over his passport. He listed a phone

 number for his father and indicated he was proficient in English.

         Records provided from WKU confirmed that Abdulah M. Alnwfal resided at 1922 Creason

 St, Bowling Green, Kentucky. He was studying Technology management, Architectural &

 Manufacturing in the program for a BS in Science and Engineering. WKU provided a copy of his

 Saudi Arabian passport indicating his full name was Abdulah Mohamed S. Alnwfal with a date of

 birth of 1988. He studied at WKU from Summer 2012 to Spring 2014.               On    a   WKU      Web

 admissions application, he also listed his email as noooz_one@hotmail.com.

         B. STATEMENTS OF RAMIC AND COCONSIRATORS IN FURTHRANCE OF
         CONSPIRACY AND PROPAGANDA

         After Ramic and his co-conspirators successfully joined ISIS, they split up, undergoing

 training and ultimately fighting for the terrorist organization on different fronts. In the months that

 followed, the three kept in contact furthering their conspiracy, sharing their locations in Syria, Iraq,

 and elsewhere, as well as discussing the work they were doing on behalf of ISIS; they also

 communicated with others about their goals. These messages reference specific ISIS ideology,

 major battles and relevant locations.

         For example, on July 30, 2014, Ramic sent a message to Alkhalaf describing how he used

 a dushka [anti-aircraft weapon] to shoot at planes. That same day Ramic sent another message to

 Alkhalaf indicating that that he was in Raqqah, Syria. Likewise, Ramic and his co-conspirators

 reference myriad locations (e.g., Ramadi, in Al-An Bar; Kobane; Shadadi; Mosul; and Tal Ramis)

 of relevance to them while they were traveling for and fighting on ISIS’s behalf.



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        For example, on September 27, 2014, Alnwfal sent a message to Alkhalaf that he was in

 “Alanbar, Ramadi province (Iraq).” On October 6, 2014, Alnwfal sent a message to Alkhalaf that

 “Paradise and the virgins long for you.” On November 15, 2014, Alnwfal sent Ramic a message

 “Praise be to Allah, I thought you were dead. I’m in the city of Ramadi in the province of Al-

 Anbar (Iraq).” On December 6, 2014, Ramic sent a message to Alkhalaf that he is in Kobane

 (Syria) and that today he got his vacation for 2 days. In a later communication from that day, Ramic

 tells Alkhalaf that he put Alkhalaf in his will so that Alkhalaf would get his belongings if Ramic

 was killed during jihad. On March 1, 2015, Ramic received a message from Alkhalaf advising that

 Alnwfal was missing and is being considered a martyr.

        On March 14, 2015, in an email, Alkhalaf stated that Alnwfal went to fight jihad and was

 killed by the crusader’s plane. On March 14, 2015, in an email, Alkhalaf stated that Alnwfal was

 killed in Tal Hamis, Syria, and that he was supposedly deterring an attack by the PKK.

        In addition to these communications, Alkhalaf also communicated with WKU on two

 occasions after leaving the United States from his Donkhalaf@hotmail.com email account. As

 noted above, Alkhalaf was in the U.S. on a student visa and had been studying at WKU prior to

 his June 2014 flight to Turkey.

        On September 18, 2014, Alkhalaf sent an email to WKU which read in relevant part:

 “[t]hree months ago I came to factually believe that Islamic state in Iraq and Levant I.S.I.L is the

 true way. They follow the footsteps of the prophet and take Qur’an as Imam. Alhamdulilah [praise

 to God] i found my way to the land of al sham [Syria]; now I live under the caliphate[.]” Almost a

 year after his departure, on June 8, 2015, Alkhalaf sent another e-mail from to WKU stating “I am

 with islamic state. In sha Allah [God willing] when we conquer the US I will look for you.” WKU

 officials confirmed that the email address Alkhalaf was associated to Alkhalaf’s student account.

        During his time with the terrorist group, Ramic attended a military training camp, engaged

 in combat, and conspired with other ISIS members to provide material support and resources to
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 ISIS. As a result, a grand jury indicted Ramic for providing and conspiring to provide material

 support to a designated foreign terrorist organization, and knowingly receiving military training

 by and from a designated foreign terrorist organization. At trial, the United States intends to offer

 statements made by Ramic, and other co-conspirators, some of which are outlined above, about

 plans to join ISIS, ISIS’s ideology, structure, military plans, and other such communications made

 in furtherance of the conspiracy to provide material support to ISIS.

        Once outside of the United States, Ramic shared with his family the work he was doing on

 behalf of ISIS. Indeed, in speaking with the FBI, Ramic’s mother admitted that Ramic sent her

 the below two photographs:




 In the first photo, Ramic is dressed in camouflage and stands in front of a truck outfitted with an

 anti-aircraft gun and an ISIS flag. Ramic holds the flag open, so it can be seen in the photograph.

 Arabic writing on the hood of the truck appears to be the popular ISIS slogan “A Caliphate based

 on the Prophetic Tradition.” In the second photo, Ramic sits on the ground, wearing a head

 covering and holding a rifle.


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          In addition to Ramic and his co-conspirators’ admissions, the United States anticipates

 introducing the testimony and a deposition of cooperating witnesses 1 and 2, respectively. Both

 were former ISIS members who interacted with Ramic during his time with the terrorist

 organization. One such witness, referenced in the Complaint as “CW,” is expected to testify that

 this person met Ramic when Ramic was using the name “Abu Hazim al Bosnawi” [Abu Hazim

 the Bosnian]. Ramic shared with this individual a number of identifying (and accurate) details,

 such as the fact that Ramic had a criminal record in Kentucky or somewhere in the “Bible belt,”

 and that Ramic knew the FBI had an open investigation into Ramic due to his jihadi activities. The

 CW will testify that he met Ramic at Camp Abdullah Aazzam, an ISIS military training camp near

 Taqba, Syria. Ramic was in the “kadeemi group,” ahead of the CW’s group, and their time in the

 camp overlapped for a few weeks, likely in mid-to-late July 2014. The CW not only had direct

 conversations with Ramic, but can also can confirm that they both received military-type training

 at Camp Abdullah Aazzam from ISIS. The training included weapons training and physical

 training. In fact, the CW is expected to testify that the trainees at the camp all fired an AK-47—a

 well-known assault rifle that used throughout the Middle East and ubiquitously by ISIS. CW 2

 testified in a video recorded deposition that he knew Ramic as “Abu Hazim” and that Ramic fought

 in Kobane and received military training from ISIS. CW 2 also identified “Abu Hazim” as the

 person identified in the photographs identified above.

          C. EARLY EVIDENCE OF RAMIC’S RADICLAZATION AND INTENT TO
          ENGAGE IN RADICAL JIHAD

          The United States provided notice of the intent to introduce evidence that Ramic traveled

 to Yeman and Saudi Arabia to radicalize and achieve his goal of engaging in radical Jihad in from

 2010 until he successfully traveled to join ISIS in June 2014.1 Ramic was interviewed by federal


 1
  In DN 131 the United States provided notice pursuant to FRE 404(b) of Ramic’s intent to repeatedly travel to
 engage in jihad. Specifically, Ramic traveled or attempted to travel to engage in radicalization and jihad by plans to
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 agents after his return from Yemen and prior to his travel to join ISIS in 2014. During those

 interviews Ramic denied traveling for the purpose of radicalizing or engaging in radical jihad.

 However, an FBI covert employee (OCE) and an FBI confidential human source (CHS 2)

 uncovered Ramic’s true intent through his consumption of radicalization materials, participating

 in radical chatrooms, and Ramic’s own online statements about lying the FBI about his purpose of

 travel to Yemen.

          In 2010, Ramic traveled to Yemen for the purpose of radicalization and joining groups

 engaged in radical jihad. Ramic’s purported purines in traveling to Yemen was to enter Dar Al-

 Mustafa - a religious school. On July 1, 2010, after being denied entry into Yemen for lack a

 student visa, Ramic ultimately returned back to the United States. After his return, Ramic was

 interviewed by the FBI several times. In every interview, Ramic maintained that his reason for

 traveling to Yemen was to study at the Dar al Mustafa Islamic school and for no other reason.

          In September 2011, in conversations with the FBI online undercover employee (OCE-1)

 on pal talk, Ramic stated that he lied to interviewing authorities, including the FBI, regarding his

 reason for traveling to Yemen in June 2010. Ramic further discussed his desire to travel abroad to

 any Muslim country and that lack of funds was holding him back. Ramic advised-that one must

 pretend to be traveling for the purpose of studying and that easiest way to travel abroad is to apply

 to a school and get the student visa and then separate from the school after arrival. In addition, the

 United States intends to introduce evidence that in or about 2011 and 2012 Ramic applied to the

 Islamic University of Almadinah Almunawwarah in Saudi Arabia and was accepted for the

 2011/2012 academic year. He further attempted to obtain a visa in order to travel to Saudi Arabia.

          Consistent with his prior trip to Yemen, Ramic attempted to continue his beliefs and



 travel Yemen in 2010 and Saudi Arabia in 2011/2012. The travel attempts show that Ramic held longstanding intent
 to radicalize, engage in jihad and further education consistent with his belief in radical jihad; and that he had long
 planned for the eventual foreign trip he made to join ISIS. Ramic objected and moved in limine to exclude. DN
 166.
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 radicalize. The prior occasions of Ramic’s travel and attempts to travel are relevant to demonstrate

 Ramic’s intent, knowledge, plan, and further demonstrate Ramic’s determination and persistence

 to engage in radicalization and violent jihad. This is intrinsic, res gestae, and direct evidence of

 intent to conspire and provide material support to ISIS as alleged in the Indictment.

        During this same time, Ramic at least two online aliases to engage online with various

 social media platforms: Malik Al Muthanna, and Sunnah or Die. Both of these profiles engaged

 in “chats,” or online conversations, with CHS 2 and the OCE others on an online platform known

 as PalTalk.    In these chat discussions and online forums with the OCE or CHS 2, Ramic

 participated in discussions about jihad and made incriminating statements about his true intent

 when he traveled to Yemen. During his conversations on PalTalk in a chatroom dedicated to the

 teachings of a known radical Islamic cleric, Ramic consumed radical information and participated

 in communications indicative of his intent to participate in jihad.


        III.    A SEPARATE STATEMENT OF EACH UNRESOVLED SUBSTANTIVE
                ISSUE OF LAW, WITH DISCUSSION AND CITATIONS TO
                AUTHORITIES

    •   Stipulation or Judicial Notice ISIS is an FTO.

        The United States requested a stipulation from the defendant regarding the status of ISIS,

 and its aliases, as a Foreign Terrorist Organization (FTO). The United States also filed a motion

 for judicial notice that ISIS, and its other names, is listed as an FTO in the Federal Register. On

 October 15, 2004, the United States Secretary of State designated al Qa’ida in Iraq (AQI), then

 known as Jam’at al Tawhid wa’al-Jihad, as an FTO under Section 219 of the Immigration and

 Nationality Act and as a Specially Designated Global Terrorist under section 1(b) of Executive

 Order 13224. On May 15, 2014, the Secretary of State amended the designation of AQI to add the

 alias Islamic State of Iraq and the Levant (“ISIL”) as its primary name. The Secretary also added

 the following aliases to the ISIL listing: the Islamic State of Iraq and al-Sham (“ISIS”), the Islamic
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 State of Iraq and Syria ("ISIS"), ad-Dawla al Islamiyya fi al-'Iraq wa-sh-Sham, Daesh, Dawla al

 Islamiya, and Al-Furqan Establishment for Media Production.

    •   Admission of Deposition of CW 2

        A deposition of CW 2 was conducted via live stream Zoom video in Courtroom 4 in the

 United States District Courtroom 4 in the Western District of Kentucky on April 17, 2024. The

 witness place placed under oath and testified with translation provided by a sworn Bosnian

 interpreter. CW 2 testified from Sarajevo, Bosnia. The deposition was video recorded and

 transcribed. The parties’ objections were noted during the deposition.

        The United States filed a motion to take testimony via deposition of CW 2 pursuant to Fed.

 R. Crim. P. 15. DN 118. The United States provided a sealed document. DN 119. Defendant

 objected in a sealed response. DN 128. The Court granted the United States request to conduct

 the deposition. DN 136.

        On Friday, April 12, 2024, the United States emailed formal notice to Ramic’s counsel

 indicating the time, date and specific location of the deposition in Bosnia at a hotel and that the

 deposition would be live streamed to Courtroom 4 in the United State District Courtroom in

 Louisville, Kentucky. The United States also filed formal notice of the deposition. DN 175. The

 United States filed a motion to admit the deposition. DN 193. The defendant objected. DN 204.

    •   United States’ Motion for Witness Protections

        The United States filed a motion in limine requesting witness protections for FBI covert

 employee (OCE), confidential human sources, and cooperating witnesses. DN 178. Ramic

 objected to the requests. DN 183.

    •   United States’ Motion to Admit ISIS Documents

        The United States filed a motion in limine to Admit ISIS documents regarding Ramic and

 coconspirators border crossing and biographical information provided when joining ISIS. DN


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 168. These ISIS border crossing records show Alkhalaf, Alnwfal and Ramic all traveled on the

 same day through the same border crossing in Syra to join ISIS.

    •   United States’ Motion To Admit Co-Conspirator Statements

        The United States filed a motion to admit evidence of coconspirator statements under FRE

 801(d)(2)(E). DN 170. The United States has identified ample evidence in this motion and DN

 170 providing proof of a conspiracy between Alkhalaf, Alnwfal, Ramic, and other ISIS members

 to provide material support.   The United States requests that statements between participants in

 furtherance of the conspiracy be admitted into evidence.

    •   The United States Filed the Following Motions in Limine:

              o To exclude double jeopardy arguments by Ramic as to any prosecution or
                sentence in a foreign country. DN 174.
              o To exclude Evidence of Withdrawal from Conspiracy. DN 173.
              o To exclude evidence of Rendition. DN 172.
              o To exclude evidence of Charging Decisions. DN 171.

        IV.      A STATEMENT OF EVIDENTIARY ISSUES WHICH IT IS
                 REASONABLY BELIEVED WILL BE RAISED AT TRIAL TOGETHER
                 WITH CITATIONS TO THE FRE AND AUTHORITIES IN SUPPORT OF
                 POSITION TAKEN

        None at this time.

        V.       A STATMENT OF ANY KNOWN OR REASONABLY ANTICPATED
                 POTENTIAL TRIAL PROBLEMS, OR OTHER ISSUES WHICH MAY
                 ASSIST THE COURT IN TRYING THE CASE.

        The United States has requested witness protections which may result in courtroom

 closure. A separate courtroom with an audio feed may be necessary for public access to the

 proceedings. The United States may also request that certain witnesses be permitted to use non-

 public entrances and exits from the courtroom and courthouse.




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        VI.    PROPOSED SUBSTANTIVE AND SPECIAL JURY INSTRUCTIONS
               WITH CITATIONS TO AUTHORITIES.

        The United States will file proposed jury instructions via separate filing.


        VII.    PROPOSED VOIR DIRE QUESTIONS

        The United States will file proposed voir dire questions via separate filing.


 Respectfully submitted,

 MATTHEW G. OLSEN                                     MICHAEL A. BENNETT
 ASSISTANT ATTORNEY GENERAL                           UNITED STATES ATTORNEY

 By:    /s/ Kevin C. Nunnally                         By:     /s/ Joshua D. Judd
        Kevin C. Nunnally                                     Joshua D. Judd
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                                  CERTIFICATE OF SERVICE

        On May 14, 2024, I electronically filed this document through the ECF system, which will
 send a notice of electronic filing to counsel for the Defendants.


                                              /s/ Joshua D. Judd
                                              Joshua D. Judd
                                              Assistant United States Attorney




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